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                     UNITED STATES DISTRICT COURT
                           DISTRICT OF IDAHO
                 U.S. MAGISTRATE JUDGE MINUTE ENTRY
☒Video Initial Appearance on Supervised Release Petition (docket #6)
☒Detention Hearing
☒Preliminary Hearing Waived


MAGISTRATE JUDGE: Raymond E. Patricco, Jr.                  DATE: March 8, 2022
DEPUTY CLERK/ESR: Kim Tudela                                TIME: 11:00 – 11:19


       UNITED STATES OF AMERICA vs. BRUCE JAMES LARSON
                            2:19-CR-244-DCN

United States (AUSA): Traci Whelan
Defendant: Payton Martinez, Federal Defender
USPO: Lee Pierantoni

☒Defendant placed under oath.
☒Defendant waived personal appearance and consented to proceed by video.
☒Court reviewed the record.
☒Defendant appears in custody on an Amended Petition on Probation.
☒Constitutional Rights advised to Counsel/ Revocation Hearings.
☒Amended Petition on Probation read to defendant.
☒Defendant advised of rights to preliminary hearing and waived.

☒Court examined defendant’s current Financial Affidavit and appointed Payton Martinez, Federal
Defenders counsel.

☒Final revocation hearing set for April 13, 2022 at 2:00 pm before Judge David C. Nye in
Coeur d’Alene, ID.

☒Defense Counsel shall advise Judge Nye's Chambers Prior to Revocation Hearing any
admissions and/or denials to the petition. No admissions nor denials made today.

☒After discussion of release conditions, the Court ordered defendants release set forth in the order.

☐ORDER: Order setting conditions of release entered.
